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IN THE CIRCUIT COURT OF COPIAH COUNTY, MISSISSIPPI

KENNYADA MITCHELL PLAINTIFF
VS. civiL ACTION NO.Z017-O! qb
LISA DAVIS AND JOHN
DOES 1 THROUGH 10 DEFENDANTS
JURY TRIAL DEMANDED
COMPLAINT

COMES NOW the plaintiff, Kennyada Mitchell, and makes and files this action for
compensatory damages against the defendants, Lisa Davis and John Does | through 10, and for
said cause would show unto the Court the following, to-wit:

PARTIES

1. The plaintiff, Kennyada Mitchell, is an adult resident citizen of Hinds County,
Mississippi whose address is in Byram, Mississippi 39272.

2. The defendant, Lisa Davis, is an adult resident citizen of Pike County, Mississippi
who may be served with the process of this Court at her place of employment, the Hazlehurst City
School District, 119 Robert McDaniel Drive, Hazlehurst, Mississippi 39083, This defendant is
sued in her individual capacity only.

3. Defendants John Does 1-10 are individuals and/or legal entities whose identifies
are unknown and unidentified to the Plaintiff, including, but not limited to individuals or entities
whose actions and/or omissions caused or substantially contributed to injuries and damages
sustained by the Plaintiff. Such defendants will be identified and specifically named when Plaintiff

learns their identity.

4, At all times relevant herein, the defendants, Lisa Davis and John Does 1 through.

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10, were acting in their individual capacities.

JURISDICTION AND VENUE

5. The jurisdiction of this Court is invoked pursuant to MISS. CODE ANN. § 9-7-81.
6. The venue of this action is proper in Copiah County, Mississippi, pursuant to the §
11-11-3, Miss. Code Ann. (1972), as amended, because the causes of action arose and accrued in
Copiah County, Mississippi.
FACTS
7. At all times relevant herein, the plaintiff was employed by the Mississippi

Department of Education (“MDB”) as a state governmental employee performing duties as an

Accountant Auditor JIL.

8. At all times relevant herein, the plaintiff had a valid and enforceable employment
contract with the MDE.

9. At all times relevant herein, the plaintiff had an expectation of continued

employment with the MDE.

10. Atall times relevant herein, the defendant, Lisa Davis, was an employee of the City
of Hazlehurst School District (“HCSD”) and was acting within and outside her scope of
employment for the HCSD.

ll. At all times relevant herein, the plaintiff's minor stepdaughter, Vatora Mitchell,
was a student attending the Hazlehurst High School (“HHS”) located in Hazlehurst, Mississippi.

12. Atall times relevant herein, the Hazlehurst High School was a public high school in
the City of Hazlehurst School District,

13. The plaintiff began working for the MDE as an Accountant Auditor III on or about

December 14, 2016,

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14, On or about May 17, 2017, the plaintiff took personal leave from work to
accompany Valerie Gustavis, the mother of Vatora Mitchell, to HHS to discuss the reason Vatora
Mitchell was not graduating from HHS on May 26, 2017, the date of the high school graduation.

15. On or about May 17, 2017, the plaintiff spoke with HHS Counselor King and
Assistant Principal Craft concerning the reasons Vatora Mitchell would not be graduating on May
26, 2017. The plaintiffs husband Kendrick Mitchell {ater joined the plaintiff and Ms Gustavis at
this meeting.

16. HHS Counselor King informed the plaintiff that HHS failed to update Vaiora
Mitchell’s and other students’ transcript and scores since May 2016.

17. HHS Counselor King also informed the plaintiff that she had provided the plaintiff
and her husband with incorrect information for Vatora Mitchell to retake her state history test in
order to graduate on May 26, 2017.

18. HCSD officials admitted that the HCSD had failed to properly maintain and update
student records and provide proper academic testing advice for students eligible for graduation on
May 26, 2017.

19. The plaintiff thereafter inquired of an official at the MDE working in the
Accreditation Department how Vatora Mitchell and other HHS students could graduate on May
26, 2017, with their present scores.

20. The MDE official working in the Accreditation Department informed the plaintiff
how Vatora Mitchell and the other HHS students could graduate on May 26, 2017, with their
present scores,

21. The plaintiff, thereafter, attempted to locate the defendant, Lisa Davis, during
normal business hours, to discuss how Vatora Mitchell and other HHS students could graduate on

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May 26, 2017 with their present scores.

22. The plaintiff did not locate the defendant, Lisa Davis, at the HCSD, during normal
business hours, but the defendant’s secretary instructed the plaintiff to meet the defendant, Lisa
Davis at April Henley Mackey’s Hair Salon, a private business located in Hazlehurst, Mississippi,
to discuss how Vatora Mitchel] and other HHS students could graduate on May 26, 2017 with their
presenti scores.

23, At all times relevant herein, the defendant, Lisa Davis, was the Superintendent of
the HCSD.

24. ~~ The plaintiff met the defendant, Lisa Davis, at April Henley Mackey’s Hair Salon,
in Hazlehurst, Mississippi instead of at the HCSD.

25. There were other patrons mside April Henley Mackey’s Hair Salon when the
plaintiff met with the defendant, Lisa Davis, to discuss Vatora Mitchell’s academic matters and
how Vatora and the other HHS students could graduate with their present scores.

26. ‘The plaintiff informed the defendant, Lisa Davis, that a hair salon was not a proper
place to discuss a student’s sensitive, personal, and private academic matters, and the plaintiff felt
uncomfortable discussing the students’ academic matters in such a public setting.

27. The plaintiff also informed the defendant, Lisa Davis, that HCSD officials had
failed to properly maintain and update student records and provide proper academic testing advice
for students eligible for graduation on May 26, 2017.

28. =‘ The plaintiff speaking to the defendant, Lisa Davis, about HCSD officials’ failure
to properly maintain and update student records and provide proper academic testing advice for
students eligible for graduation on May 26, 2017 was a matter of public concern.

29, ‘The defendant, Lisa Davis, ignored the plaintiff's concerns and began discussing

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Vatora Mitchel!’s academic matters in a loud voice such that other patrons in the hair salon could
hear the conversation.

30. The defendant, Lisa Davis, admitted to the plaintiff that HHS’s Counselor King
made mistakes by not properly maintaining and updating students’ academic records

31. The defendant, Lisa Davis, then assured the plaintiff that the defendant, Lisa Davis,
would contact the plaintiff and her husband about the matter.

32. The defendant, Lisa Davis, subsequently contacted the plaintiff about meeting with
HCSD employees to discuss the matter.

33.  Onor about May 24, 2017, the plaintiff took half of a personal day off from work
and met with the defendant, Lisa Davis, Counselor King, and Test Coordinator Gray to discuss the
graduation of Vatora Mitchell from HHS.

34.  Onor about May 24, 2017, the defendant, Lisa Davis, informed the plaintiff that
Vatora Mitchell would not be graduating from HHS because Vatora needed to retake the U. 8.
History state test.

35. The defendant, Lisa Davis, then falsely accused the plaintiff of being hostile at their
meeting at the hair salon on or about May 17, 2017

36. The defendant, Lisa Davis, then told the plaintiff that the defendant was going to
call her sorority sister and friend, Dr. Felicia Gavin, an employee at the MDE, and complain about
plaintiff being hostile at their meeting at the hair salon on or about May 17, 2017.

37. The plaintiff was not hostile at their meeting at the hair salon on or about May 17,
2017 or at any other meeting with the defendant or any other employee or official of the HCSD.

38. Dr. Felicia Gavin was, at all times relevant herein, plaintiff's supervisor.

39, The defendant, Lisa Davis, deliberately, intentionally, maliciously, and with

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reckless disregard for the rights of the plaintiff slandered plaintiff's reputation and character at the
MDE by calling Dr. Felicia Gavin and other unknown officials at the MDE and deliberately,
intentionally, maliciously, and falsely telling Dr. Gavin and those unknown MDE officials that
plaintiff had been hostile at a meeting with the defendant, Lisa Davis, on May 17, 2017.

40. The defendant, Lisa Davis, deliberately, intentionally, maliciously, and with
reckless disregard for the rights of the plaintiff interfered with plaintiff's employment contract
with the MDE by calling Dr. Felicia Gavin and other unknown officials at the MDE and
deliberately, intentionally, maliciously, and falsely teHing Dr. Gavin and those unknown MDE
officials that plaintiff had been hostile at a meeting with the defendant, Lisa Davis, on May 17,
2017,

A], The defendant, Lisa Davis, deliberately, intentionally, maliciously, and with
reckless disregard for the rights of the plaintiff slandered plaintiffs reputation and character and
interfered with her contract al the MDE because the plaintiff had complained to the defendant, Lisa
Davis, that HCSD officials had failed to properly maintain and update student records and provide
proper academic testing advice for students eligible for graduation on May 26, 2017, a matter of
public concern.

42. The defendant, Lisa Davis, conspired with unknown officials at the MDE to
disparage plaintiff's reputation and character and interfere with plaintiff's employment contract
with the MDE because the plaintiff had complained to the defendant, Lisa Davis, that HCSD
officials had failed to properly maintain and update student records and provide proper academic
testing advice for students eligible for graduation on May 26, 2017, a matter of public concern.

43, Following the second meeting with the defendant, Lisa Davis, the plaintiff returned
to work at the MDE and Cassandra Moore, the Human Resource Manager for the MDE,

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immediately terminated plaintifl’s employment with the MDE at about 1:45 p.m.

44, The defendants, Lisa Davis and John Does 1 through 10, individually, and in active
concert with each other, retaliated against the plaintiff by disparaging her reputation and character
and terminating her employment with the MDE for her speaking out that HCSD officials had failed
to properly maintain and update student records and provide proper academic testing advice for
students eligible for graduation on May 26, 2017, a matter of public concern.

45. AJL of the actions and inactions of the defendants, jointly and severally, as set out
herein, have been deliberate, intentional, fraudulent, negligent, grossly negligent, and in reckless
disregard for the rights of the plamtiff.

46. Ail of the actions and inactions of the defendants, jointly and severally, as set out
herein, were taken pursuant to a policy of the HCSD, which allowed and condoned the
Superintendent of the HCSD in retaliating against individuals for speaking out on matters of pubiic
concern.

47, As a proximate result of the actions and inactions of the defendants, as mentioned
above, jointly and severally, the plaintiff sustained and suffered physical injury and emotional
distress.

48, As a proximate result of the actions and inactions of the defendants, as mentioned
above, jointly and severally, the plaintiff suffered loss wages and a loss of wage earning capacity,
and the plaintiff has incurred medical and pharmacy bilis.

CAUSES OF ACTION

COUNT I - RETALIATION FOR EXERCISING FREEDOM OF SPEECH

49. The actions and inactions of the defendants, as mentioned above, jointly and
severally, in retaliating against the plaintiff by causing her termination as an Accountant Auditor IJ

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for MDE because she spoke to HCSD officials, personnei of the Accreditation Department of the
MDE, and defendant Lisa Davis, about a matter of public concern constituted a unlawful
retaliation and unlawful abridgment of plaintiff's right to freedom of speech as secured to the by
the First and Fourteenth Amendments to the United States Constitution and 42 U.S.C. § 1983.

COUNT IL - INTENTIONAL AND FRAUDULENT MISREPRESENTATION THAT
INTERFERED WITH EMPLOYMENT

50. ‘The actions and inactions of the defendants, as mentioned above, jointly and
severally, in intentionally, falsely, and fraudulently misrepresenting plaintiff's conduct to her
employer that resulted in plaintiff's employment termination as an Accountant Auditor II for
MDE, and the defendants failure to exercise reasonable care before intentionally, falsely, and
fraudulently misrepresenting plaintiff's conduct to her employer in an attempt to get her
employment contract terminated constitutes an anlawfal intentional and fraudulent
misrepresentation that interfered with plaintiffs employment contract.

COUNT ILL- TORTUOUS INTERFERENCE WITH PLAINTIFF'S CONTRACT
OF EMPLOYMENT

St, The actions and inactions of the defendants, as mentioned above, jointly and
severally, tortuously interfering with the employment contract between MDE and the plaintiff by
willfully, falsely, fraudulently, and tortuously submitting a false statement against the plaintiff to
MDE which was calculated to cause damage to plaintiff's employment in her lawful position as
Accountant Auditor II] for MDE caused actual loss to the plaintiff in the form of loss of job as
Accountant Auditor TI for MDE, physical pain, emotional distress, loss of wages, and a loss of
wage earning capacity and constitutes an unlawful tortuous interference with plaintiff's

employment contract.

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COUNT LV -INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

52. The actions, inactions, and omissions of the defendants, as mentioned above,
jointly and severally, in intentionally inflicting emotional distress on the plaintiff's constitutes

actionable intentional infliction of emotional distress.

CAUSATION, INJURY, AND DAMAGES

53. Asa proximate result of the actions and inactions of the defendants, as mentioned
above, jointly and severally, the plaintiff has suffered lost wages and benefits, a loss of wage
earning capacity, physical pain, emotional distress, embarrassment and humiliation, and loss of
enjoyment of lifc, and the plaintiff has incurred attorney’s fees and court costs,

54. As a proximate result of the actions and inactions of the defendants, as mentioned
above, jointly and severally, the plaintiff has suffered compensatory damages and punitive
damages in the amount to be determined by a jury at trial.

DECLARATORY AND INJONCTIVE RELEEF

55, Plaintiff seeks reinstatement with full back pay and benefits and an award for
reasonable court costs, including attorney’s fees and litigation costs.

56. The Plaintiff, pursuant to MRCP 57, requests the Court to grant her a declaratory
judgment declaring that the actions and inactions of the defendants, jointly and severally, violated
rights secured to plaintiff by the First Amendment to the United States Constitution and 42 U. 5,
C. § 1983.

WHEREFORE, PREMISES CONSIDERED, plaintiff demands judgment of and from
the defendants, jointly and severally, in the amount to be determined by a jury at trial together with

court costs and litigation expenses and pre-judgment and post-judgment interest, and declaratory

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and injunctive relief as set out above.
: ——
This the ag day of July, 2017,
Respectfully submitted,

KENNYADA MITCHELL, PLAINTIFF

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